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                                                                          7                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         11
United States District Court




                                                                              THE REGENTS OF THE UNIVERSITY OF
                                                                              CALIFORNIA and JANET NAPOLITANO,
                               For the Northern District of California




                                                                         12   in her official capacity as President of the                No. C 17-05211 WHA
                                                                         13   University of California,                                   No. C 17-05235 WHA
                                                                                                                                          No. C 17-05329 WHA
                                                                         14                  Plaintiffs,                                  No. C 17-05380 WHA
                                                                                                                                          No. C 17-05813 WHA
                                                                         15     v.

                                                                         16   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and ELAINE                                ORDER GRANTING LEAVE
                                                                         17   DUKE, in her official capacity as Acting                    TO FILE AMICUS CURIAE
                                                                              Secretary of the Department of Homeland                     BRIEF
                                                                         18   Security,

                                                                         19                  Defendants.
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                                                                         21          The Court HEREBY GRANTS proposed amici’s Motion for Leave to File Brief as Amici

                                                                         22   Curiae in Support of Plaintiffs’ Motion for Provisional Relief.

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                                                                         24                  IT IS SO ORDERED.

                                                                         25
                                                                         26   Dated: November 1, 2017.
                                                                                                                                      WILLIAM ALSUP
                                                                         27                                                           UNITED STATES DISTRICT JUDGE

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